           Case 1:13-cr-10002-SOH                        Document 72          Filed 12/02/14             Page 1 of 6 PageID #: 501
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                  WESTERN           District of       ARKANSAS
                                                                          )
             UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                                                                                  Case Number:             1:13CR10002-02
              HARRY CLEMONS, JR.                                          )
                                                                          )       USM Number:              11280-010
                                                                          )
                                                                          )       William A. McLean
                                                                                  Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        One of the Superseding Indictment on March 18, 2014.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count

18 U.S.C. § 371                   Conspiracy to Commit Fraud in Connection with                              11/09/2011                    1
                                  Major Disaster Benefits
                                  (Class D Felony)


       The defendant is sentenced as provided in pages 2 through                 6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)      3 & 5 of the Superseding Indictment G is          X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          November 21, 2014
                                                                          Date of Imposition of Judgment


                                                                          /S/ Susan O. Hickey
                                                                          Signature of Judge




                                                                          Honorable Susan O. Hickey, United States District Judge
                                                                          Name and Title of Judge


                                                                          December 2, 2014
                                                                          Date
              Case 1:13-cr-10002-SOH                            Document 72                   Filed 12/02/14               Page 2 of 6 PageID #: 502
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 4—Probation
                                                                                                                                   Judgment—Page           2       of          6
DEFENDANT:                        HARRY CLEMONS, JR.
CASE NUMBER:                      1:13CR10002-002
                                                                               PROBATION
The defendant is hereby sentenced to probation for a term of :                          Two (2) years




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation
         officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or was convicted of a qualifying offense.
         (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

             If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of Payments sheet of this judgment.

             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached page.


                                                STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia
           related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless granted permission
           to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed in plain view
           of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal history or
           characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification requirement.
AO 245B    (Rev. 09/11)
          Case          Judgment in a Criminal Case Document 72
                  1:13-cr-10002-SOH                               Filed 12/02/14       Page 3 of 6 PageID #: 503
            Sheet 4C — Probation
                                                                                            Judgment—Page    3    of       6
DEFENDANT:                 HARRY CLEMONS, JR.
CASE NUMBER:               1:13CR10002-002

                                    SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall serve the first four (4) months of probation on home detention with electronic monitoring. The
          defendant shall remain at his place of residence at all times except for approved absences for gainful employment,
          medical care, religious services, educational programs, and other times approved by the probation officer.
2.        The defendant shall make a full and complete disclosure of finances and submit to an audit of financial documents,
          at the request of the U.S. Probation Officer. This includes records pertaining to any business with which the
          defendant is associated.
3.        The defendant shall not incur any new debt nor open additional lines of credit without prior approval from the U.S.
          Probation Officer.
4.        The defendant shall submit his person, residence, and vehicle to a search conducted by the United States Probation
          Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of violation of
          any condition of supervision. The defendant shall warn any other residents that their premises may be subject to
          search pursuant to this condition. Failure to submit to a search may be grounds for revocation.
AO 245B   (Rev. 09/11)
          Case         Judgment in a Criminal Case
                   1:13-cr-10002-SOH                   Document 72         Filed 12/02/14         Page 4 of 6 PageID #: 504
          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page     4      of         6
DEFENDANT:                HARRY CLEMONS, JR.
CASE NUMBER:              1:13CR10002-002
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                              Restitution
TOTALS            $ 100.00                                          $ 2,500.00                         $ 4,000.00


G The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                      Restitution Ordered                   Priority or Percentage

See page 5




TOTALS                              $                                      $                  4,000.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the             X fine   X restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B    (Rev. 09/11)
          Case          Judgment in a Criminal Case Document 72
                  1:13-cr-10002-SOH                                    Filed 12/02/14         Page 5 of 6 PageID #: 505
           Sheet 5B — Criminal Monetary Penalties
                                                                                                    Judgment—Page      5     of       6
DEFENDANT:               HARRY CLEMONS, JR.
CASE NUMBER:             1:13CR10002-002

                                        ADDITIONAL RESTITUTION PAYEES
                                                                                                                           Priority or
Name of Payee                                                       Total Loss*            Restitution Ordered             Percentage

FEMA Finance Center/Debt Establishment Unit*                                                             $3,000.00                    75%
Attn: Mary Jane Nicoll, Debt Collection Specialist
P.O. Box 530217
Atlanta 30353-0217
*NOTE: Checks made payable to FEMA should
include the following: a note that the funds are for the
repayment of restitution, the defendant’s name and
social security number, the disaster declaration
number (FEMA 1861-DR-AR), and the case docket
number (0861 1:13CR10002-002).

Arkansas Department of Emergency Management                                                                $500.00                  12.5%
Attn: Mr. Scott Bass
Camp Joseph T. Robinson, Building 9501
North Little Rock, AR 72199

Ouachita County                                                                                            $500.00                  12.5%
Attn: County Treasurer
145 Jefferson Street SW
Camden, AR 71711




          * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
AO 245B   (Rev. 09/11)
          Case         Judgment in a Criminal Case
                   1:13-cr-10002-SOH                 Document 72               Filed 12/02/14           Page 6 of 6 PageID #: 506
          Sheet 6 — Schedule of Payments


                                                                                                              Judgment — Page       6      of          6
DEFENDANT:                  HARRY CLEMONS, JR.
CASE NUMBER:                1:13CR10002-002


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X Lump sum payment of $              6,600.00             due immediately, balance due

          G      not later than                                     , or
          X      in accordance          G C,         G D,     G       E, or     X F below; or
B    G Payment to begin immediately (may be combined with                     G C,       G D, or      G F below); or
C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall become a special condition of probation and may be paid in
          monthly installments of not less than 10% of the defendant’s net monthly household income, but in no case less than $25.00 per
          month.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

     and corresponding payee, if appropriate.

     JAMES MICHAEL HESTERLY, WD/AR Docket 1:13CR10002-001

G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,

(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
